United States District Court
For the Northem District of Ca]ifomia

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IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

lN RE TRANSPACIFIC PASSENGER AIR NO- C 07'05634 CRB

TRANSPORTATION ANTITRUST
LITIGATION ORDER GRANTING MOTION '[O

MODIFY CASE SCHEDULE AND

This Doculnent Relates to: VACATING TRIAL DATE

ALL ACTIONS

The Cou1t has reviewed the parties’ submissions in connection With Defendant ANA’s
Motion to Modify the Case Schedule and Adjoum Tn`al (dkt. 1137). Finding good cause
therefor, the Court GRANTS the motion and VACATES the trial date of July 8, 2018. The
Court also AMENDS the class certification schedule as follows: Defendants’ opposition and
related expert report(s) are due on May 7, 2018; Plaintiffs’ reply and any related expert
repoit(s) are due on June 18 2018, and the healing on class certification is set for M

 

2018. Jury trial will be set Within 30 days of the Court’s ruling on class celtiflcation.

Discovely shall continue during this period.

IT ls so 0RDERED.
Dated; Apri19, 2018 43"¢_
CHARLES R. BREYER
UNITED sTATEs DIsTRICT IUDGE

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